 Case 3:21-cv-01371-JPG Document 22 Filed 09/12/22 Page 1 of 4 Page ID #71




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS

ANTWON D. JENKINS,                            )
                                              )
                       Plaintiff,             )
                                              )       Case No. 21-CV-1371-JPG
       v.                                     )
                                              )       Jury trial requested
KENNY BENZING, et al.,                        )
                                              )
                       Defendants.            )

                  DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant Kenny Benzing, in his individual capacity only, by and through his attorney,

Bhairav Radia, submits the following answer and affirmative defenses to Plaintiff’s complaint

(Doc. 1) in accordance with this Court’s Administrative Order # 244:

       1.      After conducting a merit review of Plaintiff’s Complaint, the Court severed

Counts 2-4 into new cases, dismissed Counts 2-4 from this action with prejudice, and allowed

Plaintiff to proceed with Count 1, a Fourteenth Amendment failure-to-protect claim against

Defendant Kenny Benzing (Jail Administrator), John/Jane Doe 1 (Sergeant #1), John/Jane Doe 2

(Sergeant #2), and John/Jane Doe 3 (Officer #1), for allegedly failing to protect Plaintiff from an

inmate attack that occurred on November 11, 2019, even after he advised these defendants of

threats by his attackers on September 25, 2019, September 27, 2019, and October 16, 2019. See

Order, Doc. 14.

       2.      Defendant Benzing admits he was employed as the Jail Administrator of Marion

County Jail during Plaintiff’s detention in the Marion County Jail in 2019. Defendant Benzing

denies, however, that he is still so employed; and states that he left the employment of the

Marion County Sheriff’s Office in the summer of 2021.


                                                  1
  Case 3:21-cv-01371-JPG Document 22 Filed 09/12/22 Page 2 of 4 Page ID #72




          3.     Defendant Benzing denies that he failed to protect from the alleged inmate attack

that occurred on November 11, 2019.

          4.     Defendant Benzing denies that he was aware or advised of threats received by

Plaintiff from his attacker or attackers at any time before the alleged November 11, 2019 attack,

including on September 25, 2019, September 27, 2019, and October 16, 2019.

          5.     Defendant Benzing denies that he violated Plaintiff’s Fourteenth Amendment

rights.

          6.     Defendant Benzing denies that he caused Plaintiff’s injuries.

          7.     Defendant Benzing denies Plaintiff is entitled to any of the relief he seeks in this

action.

                                           AFFIRMATIVE DEFENSES:

          1.     At all times relevant to Plaintiff’s Complaint, Defendant Kenny Benzing acted in

good faith in the performance of his discretionary duties as a jail administrator in the Marion

County Jail without knowingly violating Plaintiff’s clearly established rights. Defendant Benzing

is protected by qualified immunity.

          2.     Plaintiff is barred from bringing this action by the Prison Litigation Reform Act, 42

U.S.C. §1997e(a), because Plaintiff, a prisoner when he filed this action, did not properly exhaust

the administrative remedies available to him through the grievance procedure at the Marion County

Jail with respect to his claim before filing this lawsuit.

                                JURY DEMAND

          Defendant Benzing requests a jury trial.

          For these reasons, Defendant Benzing requests this Court to deny the relief sought in

Plaintiff’s Complaint and order Plaintiff to pay Defendant’s costs if Defendant prevails in this



                                                     2
 Case 3:21-cv-01371-JPG Document 22 Filed 09/12/22 Page 3 of 4 Page ID #73




action.

                                  Respectfully submitted,

                                  KENNY BENZING, in his individual capacity only,

                            By:   s/Bhairav Radia
                                  Bhairav Radia, ARDC # 6293600
                                  OKGC Law, LLC
                                  650 Dundee Road
                                  Northbrook, IL 60066
                                  847-291-0200
                                  bradia@okgc.com




                                     3
 Case 3:21-cv-01371-JPG Document 22 Filed 09/12/22 Page 4 of 4 Page ID #74




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS

ANTWON D. JENKINS,                          )
                                            )
                      Plaintiff,            )
                                            )       Case No. 21-CV-1371-JPG
       v.                                   )
                                            )
KENNY BENZING, et al.,                      )
                                            )
                      Defendants.           )

                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 12 2022, I electronically filed this Defendant’s
motion for extension of time with the Clerk of the Court using the CM/ECF system, and I will
send notification of such filing to the following non-registered participant:

                                Antwon D. Jenkins, #09778-025
                           Talladega Federal Correctional Institution
                                     Inmate Mail/Parcels
                                        P.O. Box 1000
                                     Talladega, AL 35160

via U.S. Mail by depositing same in a sealed envelope, proper postage prepaid and affixed thereon
and placing same in the U.S. Mail receptacle located at 650 Dundee Road, Northbrook, IL, at or
before the hour of 5:00 p.m. on September 12 2022.


                                            By:     s/Bhairav Radia
                                                    Bhairav Radia, #6293600
                                                    OKGC Law, LLC
                                                    650 Dundee Road, Suite 475
                                                    Northbrook, IL 60062
                                                    Phone:847/291-0200
                                                    Fax: 847/291-9230
                                                    Email: bradia@okgc.com




                                                4
